           Case 1:18-cv-10143-RGS  Document
                          UNITED STATES     25 Filed
                                        DISTRICT     04/06/18 Page 1 of 1
                                                  COURT
                                  DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                     City of Boston Inspectional Services Department v. Dickey et al
                                  __________________________________________________________

District Court Number:            18cv10143-RGS
                                  __________________________________________________________


Fee:    Paid?        X
                 Yes ____ No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


Motions Pending                       X
                          Yes ____ No ____                  Sealed documents                     X
                                                                                     Yes ____ No ____
If yes, document #        _______________                   If yes, document #       _______________

Ex parte documents                    X
                          Yes ____ No ____                  Transcripts                          X
                                                                                     Yes ____ No ____
If yes, document #        _______________                   If yes, document #       _______________



Notice of Appeal filed by: Plaintiff/Petitioner ____                        X
                                                       Defendant/Respondent ____ Other: ____

Appeal from:
#19 Electronic Order, #20 Order of Remand
Other information:




        I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
hereby certify that the annexed electronic documents:

#19, #20, and #23
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
the Notice of Appeal # ________
                        23         filed on__________________.
                                           April 6, 2018


                                                                                         April 6, 2018
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                            ROBERT M. FARRELL
                                                            Clerk of Court


                                                            /s/Matthew A. Paine
                                                            ____________________________
                                                            Deputy Clerk




COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


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